
673 S.E.2d 661 (2009)
STATE of North Carolina
v.
Danny Ray BRIDGES.
No. 415A08.
Supreme Court of North Carolina.
February 5, 2009.
Michael E. Casterline, Asheville, for Bridges.
Donna Wojcik, Assistant Attorney General, Jeff Hunt, District Attorney, for State of NC.


*662 ORDER

Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 9th day of September 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 5th day of February 2009."
